 JS 44 (Rev. 10/20)                      Case 2:24-cv-00762-DAOCIVIL
                                                                Document 1 Filed
                                                                     COVER       10/10/24 PageID.1 Page 1 of 2
                                                                             SHEET
 The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
 provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
 purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
 I. (a) PLAINTIFFS                                                                                                                                                            DEFENDANTS
                 Biosoft (Australia) Pty Ltd ., a proprietary limited company                                                                                                 Exotropin, LLC, a Delaware Corporation, and DOES 1-5

      (b) County of Residence of First Listed Plaintiff A~u~s~tr~a=l~ia~------                                                                                                County of Residence of First Listed Defendant
                                                     (EXCEPT IN U.S. PLAINTIFF CASES)                                                                                                                      (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                                                                              NOTE:            IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                                                                               THE TRACT OF LAND INVOLVED.

      (c) Attorneys (Firm Name, Address, and Telephone Number)                                                                                                                 Attorneys (IJKnown)
          Grant R. Clayton                                                                                                                                                    Meredith Frank Mendez
          Clayton Howarth, P.C.                                                                                                                                               Malloy & Malloy, P.C.
                 p_o_Box 1909. Sandv. Utah 84091                                                                (801)255-5335                                                 6751 N. Federal Hwv .. Suite 300. Boca Raton . Florida 33487
II. BASIS OF JURISDICTION (Place an "X" in One Box Only)                                                                                              III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One Box/or Plaintiff
                                                                                                                                                                     (For Diversity Cases Only)                                                                and One Box/or Defendant)
DI U.S. Government                                           0 3 Federal Question                                                                                                             PTF                                DEF                                            PTF                                       DEF
                 Plaintiff                                         (U.S. Government Not a Party)                                                               Citizen of This State            I               D              D              Incorporated or Principal Place        4                    D              D4
                                                                                                                                                                                                                                                of Business In This State

D 2 U.S. Government                                          D 4 Diversity                                                                                     Citizen of Another State                         02             x 2 Incorporated and Principal Place
                                                                                                                                                                                                                               □                                                                          □ 5            Os
                 Defendant                                                   (Indicate Citizenship ofParties in Item 111)                                                                                                                         of Business In Another State

                                                                                                                                                               Citizen or Subject of a                          03             □ 3 Foreign Nation                                                         □ 6            06
                                                                                                                                                                 Foreign Country
 IV. NATURE OF SUIT (Place an "X"in One Box Only)                                                                                                                                                                     Click here for: Nature of Suit Code Descri tions.
                  CONTRACT                                                                           TORTS                                                         FORFEITURE/PENALTY                                              BANKRUPTCY                                          OTHER STATUTES


~
      110 Insurance                                                         PERSONAL INJURY                                                    PERSONAL INJURY                                                  625 Drug Related Seizure               422 Appeal 28 USC 158                            375 False Claims Act
      120 Marine                                                            3 IO Airplane                   D                                 365 Personal Injury -                                                     of Property 21 USC 881         423 Withdrawal                                   376 Qui Tarn (31 USC
      130MillerAct                                                          3 I 5 Airplane Product                                                     Product Liability                                        690 Other                                     28 USC 157                                    3729(a))
      140 Negotiable Instrument                                                       Liability             D                                 367 Health Care/                                                                                                                                          400 State Reapportionment
D     150 Recovery of Overpayment                                           320 Assault, Libel &                                                      Pharmaceutical                                                                           l--:P=:R:-0:-P::-E::-R=T,:.,Y,-:RI:-::-:Gc::H=:T"'S:---~ 410 Antitrust
          & Enforcement of Judgment                                                   Slander                                                         Personal Injury                                                                                   820 Copyrights                                  430 Banks and Banking
D     151 Medicare Act                                                      330 Federal Employers'                                                    Product Liability                                                                                 830 Patent                                      450 Commerce
D     152 Recovery of Defaulted                                                        Liability            D                                 368 Asbestos Personal                                                                                     835 Patent - Abbreviated                        460 Deportation
           Student Loans                                                    340 Marine                                                                 Injury Product                                                                                        New Drug Application                       470 Racketeer Influenced and
           (Excludes Veterans)                                              345 Marine Product                                                         Liability                                                                                  • 840 Trademark                                           Corrupt Organizations
D     153 Recovery of Overpayment                                                     Liability                                           PERSONAL PROPERTY 1 - - - -LABOR                                                    - - - - - - - - = 880 Defend Trade Secrets                                480 Consumer Credit
          of Veteran's Benefits                                             350 Motor Vehicle               D                                 370 Other Fraud                                                   710 Fair Labor Standards                     Act of2016                                     (15 USC 1681 or 1692)
D     160 Stockholders' Suits                                               355 Motor Vehicle               D                                 371 Truth in Lending                                                     Act
                                                                                                                                                                                                                                                                                                        485
D     190 Other Contract                                                            Product Liability       D                                 380 Other Personal                                                720 Labor/Management           1----,s""o""c"'IAL,..,.,,..,,,sE=c=u=RI""'T=-Y=-=---t-'      ~:~~::~:: ~:~sumer
D     195 Contract Product Liability                                        360 Other Personal                                                        Property Damage                                                   Relations                       861 HIA (1395ft)                                490 Cable/Sat TV
D     196 Franchise                                                                 Injury                  D                                 385 Property Damage                                               740 Railway Labor Act                   862 Black Lung (923)                            850 Securities/Commodities/
                                                                            362 Personal Injury -                                                     Product Liability                                         751 Family and Medical                  863 DIWC/DIWW (405(g))                              Exchange
                                                                                    Medical Malpractice                                                                                                                Leave Act                        864 SSID Title XVI                              890 Other Statutory Actions
1-..,.,.~RE=AL,:;;,..P;;..;R;,;;O.;;:.;;.P;;;E;;;R;;;T.,;;Y_ _-+-....,...,.;C,;;IVI.,..;,;L=RI;;:,G,;;.;,;H:.;;T..;;S.,...._-+-.:;.P;;,;RI;;;S;..O.:;_NE;,.,;;;;R;,;;.,;;P.,;;E;,;;T;;;IT,;;.I.:;.O.:;_N;,,;.S;;,_~790 Other Labor Litigation           865 RSI (405(g))                                891 Agricultural Acts
         210 Land Condemnation                                              440 Other Civil Rights                                            Habeas Corpus:                                                    791 Employee Retirement                                                                 893 Environmental Matters
D        220 Foreclosure                                                    441 Voting                                                        463 Alien Detainee                                                       Income Security Act     1--F--E   __D
                                                                                                                                                                                                                                                           ____
                                                                                                                                                                                                                                                             E__RAL----T:-AX----S-UI::-T--S-➔-l 895 Freedom of Information

§        230 Rent Lease & Ejectrnent
         240 Torts to Land
         245 Tort Product Liability
                                                                            442 Employment
                                                                            443 Housing/
                                                                                    Accommodations
                                                                                                                                              510 Motions to Vacate
                                                                                                                                                      Sentence
                                                                                                                                              530 General
                                                                                                                                                                                                                                                        870 Taxes (U.S. Plaintiff
                                                                                                                                                                                                                                                              or Defendant)
                                                                                                                                                                                                                                                        871 IRS-Third Party
                                                                                                                                                                                                                                                                                                            Act
                                                                                                                                                                                                                                                                                                        896 Arbitration
                                                                                                                                                                                                                                                                                                        899 Administrative Procedure
D        290 All Other Real Property                                        445 Amer. w/Disabilities -                                        535 Death Penalty                                                         IMMIGRATION                            26 USC 7609                                  Act/Review or Appeal of
                                                                                    Employment                                                Other:                                                            462 Naturalization Application                                                              Agency Decision
                                                                            446 Amer. w/Disabilities -                                        540 Mandamus & Other                                              465 Other Immigration                                                                   950 Constitutionality of
                                                                                    Other                                                     550 Civil Rights                                                         Actions                                                                              State Statutes
                                                                            448 Education                                                     555 Prison Condition
                                                                                                                                              560 Civil Detainee -
                                                                                                                                                      Conditions of
                                                                                                                                                      Confinement
 V. ORIGIN (Place an "X" in One Box Only)
0 1 Original                            D 2 Removed from                                   □ 3             Remanded from                           D 4 Reinstated or D 5 Transferred from D 6 Multidistrict                                                                                 D 8 Multidistrict
           Proceeding                              State Court                                             Appellate Court                                    Reopened                                 Another District                                  Litigation -                                  Litigation -
                                                                                                                                                                                                       (specify)                                         Transfer                                      Direct File
                                                                   Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
 VI. CAUSE OF ACTION                                               28 usc 1331, 1338 & 15 usc 1114, 1125
                                                                   Brief description of cause:
                                                                    Non infringement of a trademark
 VII. REQUESTED IN    0 CHECK IF THIS IS A CLASS ACTION                                                                                                             DEMAND$                                                             CHECK YES only if demanded in complaint:
      COMPLAINT:         UNDER RULE 23, F.R.Cv.P.                                                                                                                                                                                       JURYDEMAND:                                   □ Yes               □ No
                                                                                                                                                                          Case: 2:24−cv−00762
 VIII. RELATED CASE(S)
                       (See instructions):                                                                                                                                Assigned To : Oberg,
       IF ANY                              JUDGE                                                                                                                          Daphne A.
                                                                                                                         - - - - - - - - - - - - - - - - - DOCKET NUMBER -------------
 DATE                                                                                                             SIGNATURE OF ATTORNEY OF RECORD                         Assign. Date : 10/10/2024
 10/10/2024
                                                                                                                                 Isl Grant B Clayton                      Description: Biosoft v.
 FOR OFFICE USE ONLY                                                                                                                                                      Exotropin
      RECEIPT#                                       AMOUNT                                                              APPLYING IFP                                                              JUDGE                                                  MAG. JUDGE
                        Case 2:24-cv-00762-DAO Document 1 Filed 10/10/24 PageID.2 Page 2 of 2
JS 44 Reverse (Rev. I 0/20)


                      INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
         the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract ofland involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney ofrecord. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date ofremand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation -Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation - Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statue.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
